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                                   UNITED STATES OF AMERICA
                                FEDERAL TRADE COMMISSION
                                      WASHINGTON, D.C. 20580



Bureau of Competition
Health Care Division

March 6, 2023

The Honorable Denise Cote
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1910
New York, NY 10007

Re: FTC, et al. v. Vyera Pharmaceuticals, LLC, et al., 1:20-cv-00706 (DLC)

Dear Judge Cote:

In accordance with the Court’s order of March 1, 2023 (ECF No. 930), Plaintiffs and Defendant
Shkreli jointly submit this letter to advise the Court that Mr. Shkreli intends to comply with the
three forms of relief requested by Plaintiffs and outlined in the March 1 Order. Specifically, Mr.
Shkreli will:

    (1) By March 13, 2023, submit a revised supplemental Compliance Report that (i) sets forth
        in detail the manner and form in which he intends to comply, has complied, and is
        complying with the February 4, 2022 (ECF No. 876) and (ii) provides a full and complete
        accounting, with supporting documentation, of his assets and of all assets he has
        transferred, sold or otherwise disposed of in the last 12 months;

    (2) By March 15, 2023, produce in good faith all documents in his possession, custody or
        control relating to Issues No. 1-8, 14, 16, 18, 21, 23-25, and 28-32 identified in Plaintiffs’
        October 13, 2022 letter; and

    (3) On either March 21 or 22, 2023, sit for a deposition at the offices of the New York
        Attorney General at 28 Liberty Street, New York, N.Y. 10005.

Given this agreement, the parties do not believe a hearing is necessary at this time.
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Sincerely,

/s/ Markus H. Meier__________                /s/ Brianne E. Murphy
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Commission on Behalf of All Plaintiffs       Counsel for Defendant Martin Shkreli




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